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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                               Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to All Cases on               Judge M. Casey Rodgers
 Exhibit A                                           Magistrate Judge Hope T. Cannon


                                            ORDER

       This Order addresses plaintiffs who failed to submit census forms by the

court-imposed deadlines in Pretrial Order No. 18 and Pretrial Order No. 81.1 See

ECF Nos. 775 & 1848. The plaintiffs identified on Exhibit A failed to submit their

census forms by these deadlines.2

       At this point in the litigation, plaintiffs have had ample time to complete the

Initial Census Questions, which require basic case information certified by counsel

in order to facilitate discovery. These plaintiffs will be given one final opportunity

to submit their census forms, or their cases will be dismissed. For any plaintiff



       1
         The Court previously stayed certain proceedings in the MDL pending resolution of any
interlocutory appeal of its Order dated December 22, 2022. See ECF Nos. 3568 & 3610. On
December 30, 2022, the Court further clarified that the DD214 and census form requirements are
not subject to the stay and that plaintiffs must fulfill their DD214 and census form obligations in
accordance with the previously established deadlines. See ECF No. 3615 at 2.
       2
         Under Pretrial Order No. 81, depending on the number of cases per plaintiffs’ law firm
missing census forms, plaintiffs’ counsel had between 60 and 270 days to submit the census forms.
Under Pretrial Order No. 18, any newly filed or transferred case had 90 days from the date the case
was filed in or transferred into the MDL to submit a census form.
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failing to submit a census form by May 18, 2023, his/her case will be dismissed

with prejudice, in light of repeated failures to comply. (Pretrial Order No.

18/Pretrial Order No. 81 and this Order).

      SO ORDERED, on this 4th day of May, 2023.


                                ________________________________
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
